          Case 2:06-cr-00149-RSM          Document 94        Filed 07/03/06     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-149-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JUANA GARCIA-RODRIGUEZ,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Heroin and Cocaine

16 Date of Detention Hearing:     Initial Appearance July 3, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant has been indicted, together with nine co-defendants, on a charge of

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:06-cr-00149-RSM           Document 94        Filed 07/03/06       Page 2 of 3




01 conspiracy to distribute one kilogram or more of a mixture or substance containing heroin and 500

02 grams or more of a mixture or substance containing cocaine. Criminal forfeiture allegations are

03 included in the First Superseding Indictment.

04          (2)     Defendant made her first appearance in the District of Oregon, where she was

05 ordered detained as a risk of nonappearance and danger. The pretrial services report in that

06 district indicated that the defendant was in possession of false identification documents at the time

07 of her arrest. She is believed to have been born in Mexico and to be in the United States illegally.

08          (3)     Defendant does not contest detention at this time.

09          (4)     Defendant poses a risk of nonappearance due to her illegal immigration status, her

10 association with multiple alias forms of identification and her possession of a false residence card

11 at the time of her arrest. She poses a risk of danger due to the nature of the current charges.

12          (5)     There does not appear to be any condition or combination of conditions that will

13 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

14 to other persons or the community.

15 It is therefore ORDERED:

16          (1)     Defendant shall be detained pending trial and committed to the custody of the

17                  Attorney General for confinement in a correction facility separate, to the extent

18                  practicable, from persons awaiting or serving sentences or being held in custody

19                  pending appeal;

20          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

21                  counsel;

22          (3)     On order of a court of the United States or on request of an attorney for the

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
         Case 2:06-cr-00149-RSM           Document 94       Filed 07/03/06      Page 3 of 3




01                Government, the person in charge of the corrections facility in which defendant is

02                confined shall deliver the defendant to a United States Marshal for the purpose of

03                an appearance in connection with a court proceeding; and

04         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

05                counsel for the defendant, to the United States Marshal, and to the United States

06                Pretrial Services Officer.

07         DATED this 3rd day of July, 2006.



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09                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 3
